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ttorney for Plaintiff

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

 

BOBBY LEE MARSHALL, No. 2:20-cv-9185-DFM

Plaintiff,
V.

ROR OSe ORDER FOR THE

KILOLO KIJAKAZI, . WARD AND PAYMENT OF
Acting Commissioner of Social ATTORNEY FEES AND EXPENSES
Security, PURSUANT TO THE EQUAL ACCESS

Defendant. TO JUSTICE ACT, 28 U.S.C. § 2412(d)

 

 

Based upon the parties’ Stipulation for the Award and Payment of
Attorney Fees and Expenses Pursuant to the Equal Access to Justice Act, 28
USC, § 2412(d),

IT IS ORDERED that attorney fees and expenses of $6,721.30 as
authorized by 28 U.S.C. § 2412(d), be awarded subject to the terms of the
Stipulation.

 

DATE: November 16, 2021

 

HONOR E DOUGLAS F. McCQRMICK
UNITED STATES MAGISTRATE JUDGE

Respectfully submitted:

/s/ James B. Lewis
James B. Lewis
Attorney for Plaintiff

 

 
